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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



 ALANA SOUZA, et al.,
                                   Plaintiffs,
                                                              No. 18-CV-9448 (KMK)
        v.
                                                                       ORDER


 EXOTIC ISLAND ENTERPRISES, INC., et
 al.,
                                Defendants.


KENNETH M. KARAS, District Judge:

        At the Conference on November 6, 2020, the Court adopted a briefing schedule for the
Parties Motions For Summary Judgment and Defendants’ Daubert Motion. Opening briefs shall
be due no later than January 15, 2021. Opposition briefs shall be due no later than February 15,
2021.

        As discussed at the Conference, the Parties are granted leave to file extra pages in their
consolidated Summary Judgment and Daubert briefs. The consolidated opening and opposition
briefs shall not exceed 37 pages.

       If oral argument is requested, it may be scheduled by the Court.

SO ORDERED.

DATED:         November 6, 2020
               White Plains, New York
                                                     ____________________________________
                                                     KENNETH M. KARAS
                                                     UNITED STATES DISTRICT JUDGE
